Case 18-51536-lrc        Doc 61     Filed 05/04/21 Entered 05/04/21 11:01:11              Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


IN RE:                          :
                                :
SHAWNIQUE TOLITA SCOTT          :    CHAPTER 13
                                :
           Debtor.              :    CASE NO.: 18-51536-LRC
                                :
=====================================================================


                  MOTION TO VOLUNTARY DISMISS CHAPTER 7 CASE


         Debtor SHAWNIQUE SCOTT by her attorney, moves to voluntary dismiss their above-

captioned Chapter 7 case pursuant to 11 U.S.C. Section 707.

         Debtor filed this case as a Chapter 13 case on January 31, 2018.

         On March 2, 2021, Debtor filed a request to convert this case to one under Chapter 7, and

the case was so converted on March 9, 2021.

         Debtor’s counsel subsequently determined that Debtor had filed a prior case in Ohio

within 8 years prior to the filing of this case, and therefore debtor is not eligible for a Chapter 7

discharge.

         Debtor has no nonexempt property which could be liquidated to pay her unsecured

creditors.

         Debtor has turned in her vehicle to the only secured creditor in this case (US Auto

Finance).



         WHEREFORE, Debtor requests that this court enter an order dismissing her Chapter 7

case.
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DATED: May 4, 2021                           _____/s/_______
                                             Howard Slomka, Esq.
                                             Georgia Bar # 652875
                                             Slipakoff & Slomka, PC
                                             Attorney for Debtor
                                             6400 Power Ferry Road NW
                                             Suite 391
                                             Atlanta, GA 30339
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                                :
=====================================================================



                                CERTIFICATE OF SERVICE

        This is to certify that I have this day served a copy of the within and foregoing
Motion to Voluntary Dismiss Chapter 7 Case and Declaration Under Penalty of Perjury in the
above styled case by depositing same in the United States mail with the adequate postage affixed
thereto to insure delivery addressed as follows:


SEE ATTACHED FOR ADDITIONAL CREDITORS

This May 4, 2021

_____/s/______
Howard Slomka, Esq.
Georgia Bar # 652875
Slipakoff & Slomka, PC
Attorney for Debtor
6400 Power Ferry Road NW
Suite 391
Atlanta, GA 30339
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